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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
EAG/NIS/MCM                                         271 Cadman Plaza East
F. #2019R00029                                      Brooklyn, New York 11201


                                                    March 17, 2020


By FedEx

Douglas C. Anton, Esq.
Three University Plaza Drive, Suite 407
Hackensack, New Jersey 07601

Steven Greenberg, Esq.
53 W. Jackson Blvd, Suite 1260
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                Re:   United States v. Robert Sylvester Kelly
                      Criminal Docket No. 19-286 (S-2) (AMD)

Dear Counsel:

              Enclosed please find the government’s discovery in accordance with Rule 16 of
the Federal Rules of Criminal Procedure. This letter supplements the government’s previous
productions by letters dated August 15, 2019, October 16, 2019, December 5, 2019 and February
6, 2020. The government also requests reciprocal discovery from the defendant.

I.     The Government’s Discovery

       A.       Documents and Tangible Objects

                On or about January 9, 2020, Special Agents with the New York Field Office of
Homeland Security Investigations executed a search at 360 Kent Avenue, Elk Grove, Illinois,
pursuant to a search warrant obtained on the same day. The government will provide a copy of
the search warrant and affidavit in support of the search warrant as soon as the warrant is
unsealed for the limited purpose of providing it to the defendant. The government seized the
items described in the search warrant inventory, provided in Discovery Exhibit 141, and is
providing copies of certain physical evidence that was seized in this discovery production. The
government also seized numerous cellular telephones, iPads, computers, videotapes and media,
and is in the process of imaging and reviewing that material for items that are responsive to the
search warrant. The government will provide counsel with the results of those searches and will
make the images of the devices available counsel.
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                Please also find enclosed a CD that contains the following items. These items are
subject to the terms of the protective order entered by the Court on or about August 13, 2019.



 Discovery
                                                      Description
  Exhibit

    131       Empire CLS records for various individuals, including Jane Doe #5

    132       Mandalay Bay Hotel records for Jane Doe #5 from May 2, 2015 to May 5, 2015

    132a      Business records certification for DX 132

    133       Tobin Center records related to a concert on March 7, 2017

    133a      Business records certification for DX 133

    134       Montrose Hotel records for Jane Doe #5 from April 29, 2015 to May 1, 2015

              Le Parc Suite Hotel records for various individuals from April 27, 2015 to May 1,
    135
              2015

    136       Walgreens records for Jane Doe #5

    136a      Business records certification for DX 136

    137       Metropolitan Correctional Center Chicago records for Robert Kelly

    138       License plate recognition reports

    139       Text messages and phone contacts provided by Jane Doe #5

              Photographs and videos of Jane Doe #6 recovered from a device seized from Kelly’s
    140
              apartment in Chicago, Illinois on or about July 11, 2019.

              List of items seized during the search of the storage facility located at 360 Kent
    141       Avenue, Elk Grove, Illinois (the “Storage Facility”), pursuant to a January 9, 2020
              search warrant, and property receipts for the seized items.
              Photographs and videos taken during the execution of the search of Storage Facility
    142
              on or about January 9, 2020.

              Copies of certain photographs and documents seized from Storage Facility, including
    143
              Line Items 271 to 311 and 313 to 399

              Emails provided by a witness relating to 360 Kent Avenue, Elk Grove, and other
    144
              premises used by Robert Kelly

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              You may examine the physical evidence discoverable under Rule 16, including
original documents, by calling me to arrange a mutually convenient time.

               B.      Experts

               As we have previously noted, the government will comply with Fed. R. Crim. P.
16(a)(1)(G) and Fed. R. Evid. 702, 703 and 705 and notify you in a timely fashion of any expert
that the government intends to call at trial and provide you with a summary of the expert’s
opinion.

               At present, the government anticipates calling experts at trial to testify about the
examinations and conclusions set forth in Discovery Exhibits 118 and 121, provided in the
government’s discovery letter dated February 6, 2020. The government may also call one or
more experts to testify about social isolation and trauma bonding.

              The identity, qualifications, and bases for the conclusions of each expert will be
provided to you when they become available.



                                                      Very truly yours,

                                                      RICHARD P. DONOGHUE
                                                      United States Attorney

                                              By:      /s/ Elizabeth Geddes
                                                      Elizabeth Geddes
                                                      Nadia Shihata
                                                      Maria Cruz Melendez
                                                      Assistant U.S. Attorneys
                                                      (718) 254-7000


Enclosures

cc:    Clerk of the Court (AMD) (by ECF) (without enclosures)




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